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Order Setting Conditions of Release (Modified 03/15/2023 UT)




                        United States District Court
                                                               DISTRICT OF UTAH



    UNITED STATES OF AMERICA                                                       ORDER SETTING
                               v.                                               CONDITIONS OF RELEASE

                  Leticia Marie Torres

                                                                                  Case Number: 2:23cr410-HCN


IT IS SO ORDERED that the release of the defendant is subject to the following conditions:

(I) The defendant must not commit any offense in violation offederal, state or local or tribal law while on release in
    this case.

(2) The defendant must immediately advise the court, defense counsel and the U.S. attorney in writing of any change
    in address and telephone number.

(3) The defendant must appear in coutt as required and must surrender for service of any sentence imposed.
           The defendant must next appear at (if blank, to be notified)                                        Enter text.
                                                                                                                 PLACE

          Enter text.                                                                  on                      Enter text.
                                                                                                          DATE AND TIME



                                 Release on Personal Recognizance or Unsecured Bond

      IT IS FURTHER ORDERED that the defendant be released provided that:

(4) The defendant promises to appear in court as required and to surrender for service of any sentence imposed.

(5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

          Enter text.                                                              dollars   ($) Enter text.
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      in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




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                                               Additional Conditions of Release

         Upon finding that release by one of the above methods will not by itselfreasonably assure the appearance of the defendant
and the safety of other persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the
conditions marked below:

    ( 6) The defendant must:

         □   (a) maintain or actively seek verifiable employment and/or maintain or commence an educational program as approved
                 by the pretrial officer.
         ISi (b) abide by the following restrictions on his/her personal associations, place of abode, or travel:
                 ISl (i) maintain residence and do not change without prior permission from the prea·ial officer.
                 ISl (ii) not a·avel outside the state of Utah without prior permission from the pretrial officer.
                 ISl (iii) not travel outside the United States without prior permission from the Comt.
         ISl (c) avoid the airpott for any purpose.
         ISl (d) report on a regular basis to the pretrial officer as directed. Immediately repott to the prea·ial officer any contact with
                 law enforcement personnel, including arrests, questioning, or traffic stops.
        ISi (e) not possess a firearm, ammunition, destructive device, or other dangerous weapon.
        ISi (f) ISl not use alcohol, D not use alcohol to excess, ISl not frequent establishments where alcohol is the main item of
                 order.
        ISi (g) not use or unlawfully possess a narcotic dmg or other controlled substances defined in 21 U.S.C. §802 unless
                 prescribed by a licensed medical practitioner. Prescriptions should be repmted to the prea'ial officer.
        ISl (h) You shall not use, possess, or ingest products containing tea·ahydrocannabinol (THC) or cannabidiol (CBD) in any
                 form unless they are approved by the Food and Dmg Administration and obtained from a pharmacy by prescription
                 from a licensed medical professional. For purposes of this condition, an authorization for THC or CBD issued under
                 the law of any state is not valid; a state-issued marijuana medical card is not a prescription; and a THC/CBD
                 dispensary is not a pharmacy. You are not allowed under any circumstances to market any product containing THC
                 orCBD.
        ISl (i) submit to dmg/alcohol testing as directed by the pretrial officer; defendant shall pay all or pmt of the cost of the dmg
                 testing:
                 D (I) if testing reveals illegal dmg use, the defendant must pmticipate in dmg and/or alcohol abuse a·eatment, if
                           deemed advisable by the pretrial officer; defendant shall pay all or pmt of the cost of the program, based
                           upon your ability to pay as the pretrial officer determines.
                 ISi (2) if testing reveals illegal drug use, the court will be notified immediately, with further action to be
                           determined.
        □ (i) you must submit to Remote Alcohol Testing and abide by all of the program requirements for a period of". days.
                 You must pay all or part of the costs ofpmticipation in the program as directed by the pretrial officer.
        ISi (k) participate in a program of inpatient or outpatient substance abuse therapy and counseling if deemed advisable by
                 the prea'ial officer; defendant shall pay all or pmt of the cost of the program, based upon your ability to pay as the
                 pretrial officer determines.
        □ (I) undergo mental health evaluation and complete any recommended treatment, as directed by the prea·ial officer, and
                 take any mental health medications as prescribed; defendant shall pay all or part of the cost of the program, based
                 upon your ability to pay as the pretrial officer determines.
        D (m) sul'l'ender any passpott to the United States Clerk of the Court, District of Utah.
        ISi (n) not obtain or apply for passpo1t.
        D (o) not incur new credit charges or open additional lines of credit without prior permission from the pretrial officer.
        D (p) not be employed in any fiduciary capacity or any position allowing access to credit or personal information of
                 others.
        □ (q) not view, access or possess any sexually explicit materials.
        □ (r) not have contact with individuals under 18 years of age without the supervision of an adult who is previously
                 approved by the Comt or pretrial officer.
        D (s) participate in one of the following location restriction program components and abide by its requirements as the
                 pretrial officer instructs. Pay all or part of the cost of location monitoring based upon your ability to pay as
                 determined by the pretrial officer. No overnight travel without Court approval.
                 D (i) Curfew. You are restricted to your residence eve,y day (Enter) from Enter to Ente1· or D as directed by
                           the pretrial officer; or

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                D (ii) Home Detention. You are restricted to your residence at all times except for employment, education,
                         religious services, medical, substance abuse or mental health treatment, attorney visits, court appearances,
                         court-ordered obligations, or other activities preapproved by the pretrial officer; or
                D (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down except for medical necessities and
                         court appearances or other activities specifically approved by the Comt.
                D (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration
                         restrictions. However, you must comply with the location or travel restrictions as imposed by the court.
                         Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS)
                         technology.
       □ (t) submit to the following location monitoring technology and comply with its requirements as directed:
               D (i) Location monitoring technology as directed by the pretrial services or supervising officer; or
                D (ii) Radio Frequency (RF);
               □ (iii) Global Positioning Satellite (GPS);
               □ (iv) Voice Recognition Monitoring (requires analog phone service at approved residence at participant's
                    expense);
               □ (v) Virtual Monitoring Application (requires smmtphone with location services and push notification features
                    enabled at participant's expense).
       12] (u) submit person, residence, office, or vehicle to a search, conducted by the pretrial officer at a reasonable time and in a
               reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
               release; failure to submit to a search may be grounds for revocation; the defendant will warn any other residents that
               the premises may be subject to searches pursuant to this condition.
       D (v) pmticipate in the United States Probation and Pretrial Services Office Computer and Internet Monitoring Program
               under a □ co-payment plan or □ non-co-payment plan, and will comply with the provisions outlined in:
               □ (i) Appendix A - Limited Internet Access (Computer and internet use, as approved);
               □ (ii) Appendix B - Restricted Internet Access (Computer access only, as approved);
               □ (iii) Appendix C - Restricted Computer Access (No computer or internet access except for approved
                         employment).

               All computers, internet accessible devices, media storage devices, and digital media accessible to the defendant are
               subject to manual inspection/search, configuration, and the installation of monitoring software and/or hardware.

               The defendant must submit person, residence, office, or vehicle to a search, conducted by the pretrial officer at a
               reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a
               violation of a condition of release; failure to submit to a search may be grounds for revocation; the defendant will
               warn any other residents that all computers, internet accessible devices, media storage devices, and digital media
               may be subject to searches pursuant to this condition.

      D (w) execute a bond or an agreement to forfeit upon failing to appear as required, the following sum of money or
               designated property.
      D (x) post with the court the following indicia of ownership of the above-described property, or the following amount or
               percentage of the above-described money:
      D (y) execute a bail bond with solvent sureties in the amount of$ Enter text.
      □ (z)    be placed in the custody of a third party, who agrees (a) to supervise the defendant in accordance with all the
               conditions ofrelease, (b) to use every effort to assure the appearance of the defendant at all scheduled comt
               proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions ofrelease or
               disappears.

               Name of person 01· organiza(ion
               Address
               City ancl state   (Tel no.)

                                                            Signed:, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                               Custodian or Proxy
□     (7)     The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
              42 U.S.C. § 14135a.
□     (8)     Attend Pretrial Pathways Program as directed by Pretrial Services.
12]   (9)     Additional conditions: Not to have access to personal financial information of non-family members.


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                                              Advice of Penalties and Sanctions


TO THE DEFENDANT:

         YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

         A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of comi and could result in a term of imprisonment, a fine,
or both.
         The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment
of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
misdemeanor. This sentence will be in addition to any other sentence.
         Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to obstruct a
criminal investigation, It is a crime punishable by up to ten years of imprisonment and a $250,000 fine or both to tamper with a
witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to
intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of
sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted
of:
         (I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you will be
                fined not more than $250,000 or imprisoned for not more than 10 years, or both;
         (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you will be fined
                not more than $250,000 or imprisoned for not more than five years, or both;
         (3) any other felony, you will be fined not more than $250,000 or imprisoned not more than two years, or both;
         (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

          A term of imprisonment imposed for failure to appear or surrender must be in addition to the sentence for any other offense.
In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                Acknowledgment of Defendant

         I acknowledge that I am the defendant in this case and that I am aware of the conditions ofrelease. I promise to obey all
conditions ofrelease, to appear as directed and to surrender for service of any sentence imposed. I am aware of the penalties and
sanctions set forth above.


                                                                                                 ig~o efendant


                                                                                                    City and State

                                           Directions to the United States Marshal

121   The defendant is ORDERED released after processing.
□     The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that the
      defendant has posted bond and/or complied with all other conditions for release. The defendant must be produced before the
      appropriate judicial officer at the time and place specified, if still in custody,


Date: November 16, 2023




                                                                               ____Magistrate Judge Daphne A. Oberg,_ _ __
                                                                                   Name and Title of Judicial Officer


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